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                                                                        FILE NO: 049113.0000026

July 7, 2023

VIA ECF

The Honorable Vincent L. Briccetti
United States District Judge
United States Courthouse
300 Quarropas Street, Room 630
White Plains, New York 10601

       Re:      In Re USAA Data Sec. Litig., Case No. 7:21-cv-05813-VB (S.D.N.Y.)

Judge Briccetti:

        As ordered by the Court on June 12, 2023 (Dkt. 59), the parties jointly submit this letter
concerning the status of settlement discussions. As previously reported, after having sufficient
discovery to allow for meaningful discussions, the parties conducted an in-person mediation on
June 5, 2023 with Judge Diane M. Welsh (Ret.) of JAMS. Although the parties did not resolve
the case on June 5, they did made considerable progress and are continuing those discussions
via the continued facilitation of the mediator. That progress has continued but has not yet
concluded. The parties believe, however, that they will be able to conclude these negotiations
by the end of July.

        In the meantime, the parties write to request a short one-month adjournment of all
current discovery deadlines to give the parties additional time to determine whether the case
can be resolved without incurring unnecessary discovery costs. The parties appreciate the
Court’s patience during these negotiations and intend for this to be their last settlement-related
extension request. The current or previously identified deadlines are shown in the chart below
with the proposed new deadlines:

 Current/Previously Identified Deadline:                Extended to:
 All fact discovery (as to class certification)         November 30, 2023
 shall be completed by October 30, 2023.
 Non-expert depositions shall be completed by           November 30, 2023
 October 30, 2023.


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 Current/Previously Identified Deadline:            Extended to:
 All expert discovery, including expert             February 22, 2024
 depositions, in support of class certification
 shall be completed by January 22, 2024.
 Plaintiff’s expert disclosures in support of       December 5, 2023
 class certification shall be made by November
 5, 2023.
 Defendant’s expert disclosures in support of       February 9, 2024
 class certification shall be made by January 9,
 2024.
 Plaintiffs’ Motion for Class Certification shall   March 21, 2024
 be filed February 21, 2024.
 Defendant’s Response to Plaintiffs’ Motion         April 29, 2024
 for Class Certification shall be filed by March
 29, 2024.
 Plaintiffs’ Reply in Support of Class              April 26, 2024
 Certification shall be filed by April 5, 2024.
 Status Conference scheduled for December           No change
 21, 2023 at 10:00 AM, Courtroom 620, 300
 Quarropas St., White Plains, NY 10601.


       The parties will respectfully provide another update to the Court on or before August
1, 2023.


/s/ Armin Ghiam

cc:    All Counsel of Record (via ECF)
